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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                  Plaintiff,
11                                                         Case No. CR04-93L
             v.
12
                                                           ORDER DENYING MOTION FOR
      MARTIN MEDINA,                                       RECONSIDERATION AND FOR
13                                                         CUTOFF DATE FOR MOTIONS IN
                    Defendant.                             LIMINE
14

15
           This matter comes before the Court on the government’s “Motion for Reconsideration of
16
     the Court’s Discovery Order and for Cutoff Date for Motions In Limine” (Dkt. # 219).
17
           The government’s motion for reconsideration of this Court’s May 27, 2005 discovery
18
     order is denied. Consistent with this Court’s order, the government must produce the documents
19
     relating to the prosecution of Alejandro Delgadillo-Uribe and Ivan Torres in U.S. v. Garcia
20
     Villalba, et al., CR04-301P. If, however, the parties arrange to provide the requested documents
21
     through the paralegal assigned to the Garcia Villalba case, this Court need not conduct an in
22
     camera review of the documents prior to their disclosure.
23
           The government’s request that defendant’s motions in limine be submitted by June 1,
24
     2005 is also denied. Although motions in limine should be filed by the pretrial motions
25

26
     ORDER DENYING MOTION FOR
27   RECONSIDERATION AND FOR
     CUTOFF DATE FOR MOTIONS IN
28   LIMINE - 1
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 1   deadline, such motions may be raised both before and during trial.
 2
           DATED this 6th day of June, 2005.
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                                                     A
                                                     Robert S. Lasnik
                                                     United States District Judge
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26
     ORDER DENYING MOTION FOR
27   RECONSIDERATION AND FOR
     CUTOFF DATE FOR MOTIONS IN
28   LIMINE - 2
